Case 1:17-cv-O4179-DLC Document 34 Filed 09/18/17 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

______________________________________ X
' l?cv4l79 (DLC)
UNITED STATES SECURITIES AND EXCHANGE .
COMMISSION, : PRETRIAL
Plaintiff, : SCHEDULING ORDER

_V_

 

ALPINE SECURITIES CORPORATION,

   

d L~,z',.‘.i;§c"i"§=..s;vsi:'sf'-J_.IX FILED
’1':,»~»;;';€;2 #

1 f
farris _Frrss; __ jj§\_\_2__ ii 1

Defendant.

 

 

 

DENISE COTE, District Judge:

As set forth at the pretrial conference held pursuant to
Rule 16, Fed. R. Civ. P., on September 15, 2017, the following
schedule shall govern the further conduct of pretrial
proceedings in this case:

l. The parties shall comply with their Rule 26(a)(l), Fed. R.
Civ. P., initial disclosure obligations by September 22,
2017.

2. A protective order shall be submitted to the Court by

September 22, 2017.

3. This case will be referred to mediation to occur in
February 2018. The Clerk of Court will contact the parties
when a mediator has been selected.

4. All fact discovery must be completed by March 30, 2018.

5. Expert reports and disclosure of expert testimony
conforming to the requirements of Rule 26(a)(2)(B), Fed. R.
Civ. P., by the party bearing the burden on an issue must
be served by April 20, 2018. identification of rebuttal
experts and disclosure of their expert testimony must occur
by May 11, 2018.

6. All discovery must be completed by June 1, 2018.

7. Tbe following motion will be served by the dates indicated

 

 

Case 1:17-cv-O4179-DLC Document 34 Filed 09/18/17 Page 2 of 2

below.
Any motion for summary judgment

- Motion served by July 13, 2018
~ Opposition served by August 3, 2018
- Reply served by August 17, 2018

At the time any Reply is served the moving party shall
supply two courtesy copies of all motion papers to Chambers
by mail or delivery to the United States Courthouse, 500
Pearl Street, New Yorkr New York.

8. ln the event no motion is filed, the Joint Pretrial Order
must be filed by July 13, 2018.

As described in greater detail in this Court’s individual
Practices in Civil Cases, the following documents must be
filed with the Pretrial Order: Voir Dire, Requests to
Charge and a Memorandum of Law addressing all questions of
law expected to arise at trial. Any responsive papers are
due one week thereafter. Counsel will provide the Court
with two (2) courtesy copies of all pretrial documents at
the time of filing.

SO ORDERED:

Dated: New York, New York
September 15, 2017

 

ala

'#”’F: h
Ds'i§ri'ss coTs
United States District Judge

